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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                Plaintiff,                     )
                                               )
v.                                             ) No. 4:16 CR 258 CEJ (NAB)
                                               )
ALDEN DICKERMAN,                               )     FILED UNDER SEAL
                                               )
                Defendant.                     )

MOTION FOR ENTRY OF PROTECTIVE ORDER GOVERNING THE DISCLOSURE
            OF DISCOVERY DOCUMENTS IN THIS MATTER

         Pursuant to Fed. R. Crim. P. 16(d)(1), the United States of America, by Carrie Costantin,

Acting United States Attorney for the Eastern District of Missouri, and Colleen Lang, Assistant

United States Attorney for said District, moves for the entry of protective order, and in support

thereof states as follows:

         1.     The indictment in this case charges the defendant with one count of Possession of

Child Pornography, in violation of Title 18, United States Code, Section 2252A(a)(5)(B).

         2.     As the Court is aware, the investigation that led to defendant’s arrest involved a

peer-to-peer program called Freenet. Freenet is a type of peer-to-peer network software that

allows users to share files over the Internet. It uses a decentralized, distributed data store to

keep and deliver information. Special Investigator Wayne Becker developed a method to

identify those using Freenet to obtain files containing images and videos of child pornography.

Law enforcement, with the help of researchers, continues to refine the method used. S.I. Becker

has written draft search warrant affidavits, as well, as law enforcement sensitive articles

explaining how law enforcement locates child pornography offenders on Freenet.
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        4.      During the process of disclosure of discovery to the Defendant, the Government

has turned over all relevant discovery, including a non-published draft of search warrant affidavit

from SI Wayne Becker, a state court deposition of SI Becker, law enforcement sensitive articles

written by SI Becker, police reports, statements of the defendant, subpoena results, etc.

        5.      On April 19, 2017, an evidentiary hearing was held in this matter before this

Honorable Court.

        6.      Around 9 a.m., on April 20, 2017, the undersigned attorney for the Government

received information from SI Becker, that Steve Dougherty posted a message about the

evidentiary hearing and a piece of discovery on the internet. Specifically, Dougherty posted on

“FMS.” “FMS” is a messaging system on Freenet. Dougherty inserted into Freenet an

unpublished, search warrant affidavit drafted by SI Becker. This was not the search warrant

affidavit that was admitted into evidence at the hearing, nor has this version of the affidavit ever

become public record. Dougherty posted the keys to retrieve this document from Freenet in the

FMS posting. See attached Exhibit 1. Dougherty did redact the defendant’s information from

the search warrant draft he inserted into Freenet. See attached Exhibit 2.

        7.      The undersigned attorney for the Government contacted the Defendant’s attorney

to notify him about the posting and to inform the Defendant’s attorney that the draft of that

search warrant should not have been published. Soon thereafter, Dougherty then posted the same

detailed information about the evidentiary hearing on the website, “Reddit.” See attached

Exhibit 3. Dougherty did omit the search warrant affidavit draft from this posting citing the

Government’s concerns. However, since the draft of the search warrant has already been

uploaded to Freenet, it still exists in that network.




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       8.      Based upon Dougherty’s posting of non-public discovery documents in this

pending litigation, the Government is concerned that remaining discovery in the matter, which

includes law enforcement sensitive documents, as well as, personal identification information,

may become public.

       7.      For the reasons set forth above, the Government respectfully requests that this

Court enter the proposed protective order to protect all discovery documents in this matter.

                                                     Respectfully submitted,

                                                     CARRIE COSTANTIN
                                                     Acting United States Attorney

                                                      /s/ Colleen C. Lang
                                                     COLLEEN C. LANG, #56872MO
                                                     Assistant United States Attorney
                                                     111 South 10th Street, Room 20.333
                                                     St. Louis, Missouri 63102
                                                     (314) 539-2200




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                                 CERTIFICATE OF SERVICE

I hereby certify that on April 20, 2017, the foregoing was filed electronically with the Clerk of
the Court and that a copy was emailed to the following:

ADAM FEIN


                                                      /s/ Colleen C. Lang
                                                     COLLEEN C. LANG, #56872MO
                                                     Assistant United States Attorney
